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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT


 MOHSEN MAHDAWI,

                            Petitioner,

            -against-

 DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS                          Case No. 2:25-cv-00389
 PRESIDENT OF THE UNITED STATES; PATRICIA HYDE, IN
 HER OFFICIAL CAPACITY AS ACTING BOSTON FIELD
 OFFICE DIRECTOR, IMMIGRATION AND CUSTOMS
 ENFORCEMENT, ENFORCEMENT AND REMOVAL
 OPERATIONS; VERMONT SUB-OFFICE DIRECTOR OF
 IMMIGRATION AND CUSTOMS ENFORCEMENT,
 ENFORCEMENT AND REMOVAL OPERATIONS; TODD M.
 LYONS, IN HIS OFFICIAL CAPACITY AS ACTING
 DIRECTOR, U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT; KRISTI NOEM, IN HER OFFICIAL
 CAPACITY AS SECRETARY OF THE UNITED STATES
 DEPARTMENT OF HOMELAND SECURITY; MARCO
 RUBIO, IN HIS OFFICIAL CAPACITY AS SECRETARY OF
 STATE; AND PAMELA BONDI, IN HER OFFICIAL
 CAPACITY AS U.S. ATTORNEY GENERAL,

                            Respondents.


                                             ORDER

       In order to preserve this Court’s jurisdiction, and pursuant to the All Writs Act, 28 U.S.C.

§ 1651, it is ordered that the Petitioner, Mohsen Madawi, not be removed from the United States

or moved out of the territory of the District of Vermont pending further order of this Court.

      DATED at Burlington, in the District of Vermont, this 14th day of April, 2025.



                                                             /s/ Hon. William K. Sessions III
                                                             Hon. William K. Sessions III
                                                             U.S. District Judge




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